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16
                                  UNITED STATES DISTRICT COURT
17                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
18

19
     UNITED STATES OF AMERICA,                                 Case No. 14-CR-00175-WHA
20
                                   Plaintiff,                  RESPONSE TO ORDER RE LETTER
21
                                                               RE: PREPARATION FOR HIGH
22                                                             WIND SEASON AND NUMBER OF
            v.                                                 FIRES (GREATER OR EQUAL TO
23                                                             10 ACRES IN SIZE)
     PACIFIC GAS AND ELECTRIC COMPANY,
24                                                             Judge: Hon. William Alsup
                                   Defendant.
25

26                  Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this

27   response to the Court’s October 2, 2019 request for information regarding certain fires referenced in
                                                   1
28
                 RESPONSE TO ORDER RE LETTER RE: PREPARATION FOR HIGH WIND SEASON
                     AND NUMBER OF FIRES (GREATER OR EQUAL TO 10 ACRES IN SIZE)
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 1   PG&E’s October 1, 2019, submission regarding its preparation for high wind season and the number
 2   of fires (greater or equal to 10 acres in size) in 2019 that involved PG&E equipment.
 3                    In its October 1, 2019 submission, PG&E identified nine fires of ten acres or more
 4   during 2019 that its equipment may have contributed to igniting. On October 2, the Court requested
 5   that PG&E provide the following information with respect to three of those fires (the two ignitions
 6   potentially caused by vegetation and the one ignition potentially caused by equipment failure):
 7                         1. total acreage of the fires caused;
 8                         2. location;
 9                         3. name;1
10                         4. timing;2
11                         5. structures burned;
12                         6. exact cause of the fires; and
13                         7. any other pertinent details.
14   PG&E provides that information below.
15                    In preparing its October 1, 2019 submission, PG&E relied on data that it had
16   compiled in the ordinary course of business about incidents in its service territory through September
17   17, 2019. In preparing this response, PG&E has identified one additional fire of ten acres or more
18   that occurred on September 28, 2019. Although the cause is currently unknown and Cal Fire is
19   investigating, PG&E’s equipment may have contributed to igniting that fire. In an abundance of
20   caution, PG&E is also providing the information requested in the October 2 Order with respect to
21   this additional fire.
22                    PG&E’s analysis of the events described below is ongoing and the information below
23   represents PG&E’s current understanding of the circumstances.
24
          1
25          PG&E understands “name” to request the California Department of Forestry and Fire Protection (“Cal Fire”) or
     other fire fighting agency designation for the fire, to the extent one exists.
26        2
            PG&E understands “timing” to request the date the ignition occurred and the date on which it the fire spread had
27   been contained.

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 1     A.     May 29, 2019 Ignition
 2               1. The fire was approximately ten acres.
 3               2. The fire occurred in Fresno County.
 4               3. The Cal Fire designation for this fire is the Spearhead Fire.
 5               4. The fire ignited on May 29, 2019, at approximately 5:00 p.m. and was
 6                  contained at approximately 6:20 p.m. the same day.
 7               5. There were no structures burned.
 8               6. It appears that the fire ignited when a grey pine failed and contacted the
 9                  conductor, causing a pole to break and the conductor to contact the ground.
10               7. There was a routine vegetation management inspection in the area in April
11                  2019, but the subject tree was not identified for trimming or removal. The
12                  tree was approximately 60 feet tall. It was rooted approximately 45 feet from
13                  the conductors, outside of the prescribed clearance zones, and it appears that
14                  the largest part of the tree had been leaning away from the conductors. The
15                  tree was dead when it fell into the conductors.
16     B.     May 30, 2019 Ignition
17               1. The fire was approximately 53 acres.
18               2. The fire occurred in Kern County.
19               3. The Kern County Fire Department designation for this fire is the Belridge
20                  Fire.
21               4. The fire ignited on May 30, 2019, at approximately 11:00 p.m. and was
22                  contained at approximately 8:20 a.m. the following day.
23               5. There were no structures burned.
24               6. It appears that the fire ignited because the tie wire that held the conductor to
25                  the insulator on the pole cross arm had a break in it, which allowed the
26                  conductor to fall, contacting vegetation on the ground.
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                                               3
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 1                         7. The last overhead inspection of the conductor occurred on February 26, 2019.
 2                              At that time, the inspector identified that the tie wire had a break in it, and he
 3                              issued an electric corrective (“EC”) notification identifying the tie wire for
 4                              repair. The inspector designated the EC notification as an “E” priority, the
 5                              default priority level for a broken tie wire, which required the repair to be
 6                              completed within one year, by February 2020. An inspector may escalate an
 7                              EC notification to a higher priority level based on the likelihood of equipment
 8                              failure and the potential impact if there is a failure. In this circumstance, the
 9                              inspector concluded that the condition did not warrant escalation to a higher
10                              priority level. The individual at PG&E responsible for reviewing the
11                              inspector’s EC notification did not change the priority level assigned by the
12                              inspector. The subject equipment is not located in a High Fire Threat District
13                              (“HFTD”) area on the California Public Utilities Commission’s HFTD map.
14            C.       September 16, 2019 Ignition
15                         1. The fire was approximately 13 acres.
16                         2. The fire occurred in Mariposa County.
17                         3. The Cal Fire designation for this fire is the Grove Fire.
18                         4. The fire ignited on September 16, 2019, at approximately 3:00 p.m. and was
19                              contained at approximately 8:40 p.m. the same day.
20                         5. There were no structures burned.
21                         6. It appears that the fire ignited when a limb from a grey pine failed and
22                              contacted the conductor, causing the conductor to contact the ground.
23                         7. There was a routine vegetation management inspection of the area on April
24                              18, 2019, and a CEMA patrol3 on September 5, 2019, less than two weeks
25
           3
             As described to the Court in prior submissions, PG&E’s Drought and Tree Mortality Response Program (also
26   known as the Catastrophic Event Memorandum Account (“CEMA”) Program), requires that pre-inspectors conduct
     additional ground and aerial patrols of PG&E’s power lines in high fire-threat areas. These additional patrols provide a
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 1                             prior to the incident. Neither the routine pre-inspector nor the CEMA pre-
 2                             inspector identified the subject tree for trimming or removal. The tree was
 3                             approximately 65 feet tall. It was rooted approximately 50 feet from the
 4                             conductors, outside of the prescribed clearance zones. The tree is alive and
 5                             the limb appeared to be healthy when it contacted the conductor.
 6           D.       September 28, 2019 Ignition
 7                        1. The fire was approximately 300 acres.
 8                        2. The fire occurred in Butte County.
 9                        3. The Cal Fire designation for this fire is the Hwy (“Highway”) Fire.
10                        4. The fire ignited on September 28, 2019, at approximately 2:00 p.m. and was
11                             contained at approximately 5:30 p.m. the same day.
12                        5. There were no structures burned.
13                        6. The cause of this fire is currently unknown, and it is possible that PG&E’s
14                             equipment may not be involved. Cal Fire is currently investigating this fire.
15                             See California Department of Forestry & Fire Protection, Hwy Fire, General
16                             Information available at https://www.fire.ca.gov/incidents/2019/9/28/hwy-
17                             fire/.
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     second, third, and sometimes fourth inspection of approximately 50 percent of PG&E’s overhead distribution lines each
27   year.

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                                                     Respectfully Submitted,
 1

 2   Dated: October 9, 2019                          JENNER & BLOCK LLP

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                                                         Reid J. Schar (pro hac vice)
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 6                                                   CRAVATH, SWAINE & MOORE LLP

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 8                                                 By:    /s/ Kevin J. Orsini
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15                                                 AND ELECTRIC COMPANY
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